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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

-------------------------------------------------------- X
GRADUATION SYSTEMS, LLC                                  :
                                                         :
                  Plaintiff,                             : Case No.: 3:17-CV-01342 (VLB)
                                                         :
         vs.                                             :
                                                         :
ACADIMA LLC and ALEXANDER                                :
LOUKAIDES,                                               :
                                                         :
                  Defendants,                            :
-------------------------------------------------------- X

                                   NOTICE OF APPEARANCE

        Please enter the appearance of the undersigned attorney, Jonathan M. Shapiro, on behalf

of Defendant Alexander Loukaides.



Dated: July 12, 2019                                    By:/s/ Jonathan M. Shapiro
                                                        Jonathan M. Shapiro (ct24075)
                                                        Shapiro Law Offices, LLC
                                                        32 Washington Street
                                                        Middletown, Connecticut 06457
                                                        Telephone: (860) 347-3325
                                                        Facsimile: (860) 347-3974
                                                        Email: jshapiro@shapirolawofficesct.com

                                                        Attorneys for Eric Ryan Corporation
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on the date set forth below a copy of the foregoing was served by

CMECF and/or mail on anyone unable to accept electronic filing. Notice of this filing will be sent

by email to all parties by operation of the Court’s electronic filing system or by mail to anyone

unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may access

this filing through the Court’s CM/ECF System.



                                                       /s/ Jonathan M. Shapiro
                                                           Jonathan M. Shapiro




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